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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


JESSICA WOJTASIK,                                 )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )
                                                  )               Case No. 14-2150-CM
NATIONAL CREDIT ADJUSTERS, LLC,                   )
                                                  )
                       Defendant.                 )
                                                  )

                                    MEMORANDUM AND ORDER

       Plaintiff Jessica Wojtasik filed this action against defendant National Credit Adjusters, LLC,

alleging that defendant violated the Fair Debt Collection Practices Act (“FDCPA”) by repeatedly

calling plaintiff’s place of employment about collection of a debt. See 15 U.S.C. § 1692 et seq.

Defendant failed to answer the complaint, and the Clerk of the Court entered default against defendant.

The case is now before the court on Plaintiff’s Motion for Default Judgment (Doc. 9).

       I.      Factual Background

       The following facts are taken from plaintiff’s complaint and presumed true. One of

defendant’s agents (who will simply be referred to as “defendant”) began calling plaintiff’s place of

employment in or about April 2013. Plaintiff’s manager informed defendant that company policy

prohibited plaintiff from receiving personal calls at work. Despite that admonition, defendant called

again and spoke to one of plaintiff’s co-workers. But this was only the beginning. Defendant later

spoke to plaintiff’s office bookkeeper and another co-worker multiple times—each time referencing

plaintiff’s debt. Eventually, defendant spoke with plaintiff herself. During that call, plaintiff told

defendant that she could not receive personal calls at work and gave defendant her personal cell phone

number. Plaintiff’s manager overheard and told plaintiff to end the call immediately.



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       As a result of defendant’s communications, plaintiff was demoted. She also suffered

humiliation, emotional distress, anxiety, and other negative mental symptoms because of defendant’s

practices.

       Plaintiff initiated this suit on April 1, 2014—within the FDCPA’s one-year time limit. See 15

U.S.C. § 1692k(d). Plaintiff served the summons on defendant on June 23, 2014. (Doc. 3.) Defendant

was required to answer plaintiff’s complaint by July 14, 2014. That did not happen. On October 3,

2014, plaintiff asked the Clerk of the Court to enter default. (Doc. 5.) The Clerk did so the same day.

(Doc. 6.) Plaintiff then asked the court for default judgment on October 21, 2014. (Doc. 9.)

Defendant’s deadline to respond to that motion passed without response.

        Plaintiff requests monetary damages in the amount of $9,425, consisting of (1) $5,000 in actual

damages under 15 U.S.C. § 1692k(a)(1); (2) the full $1,000 statutory award under 15 U.S.C. §

1692k(a)(2)(A); (3) $425 in court filing costs; and (4) reasonable attorney’s fees totaling $3,000.

       II.     Legal Standards

               A.      Default Judgment

       When a party fails to respond or otherwise appear, the court (or, in some cases, the Clerk of the

Court) may enter default judgment. See Fed. R. Civ. P. 55. It is a two-step process. See id. First,

when a defendant fails to plead or defend, and the failure has been shown by affidavit or other

methods, the clerk must enter the default of the party. Id. at 55(a). After default is entered, the

defendant is deemed to have admitted the plaintiff’s well-pleaded allegations of fact. Olcott v. Del.

Flood Co., 327 F.3d 1115, 1125 (10th Cir. 2003).

       Second, after the clerk enters default, the party may apply for default judgment. See Fed. R.

Civ. P. 55(b). Courts generally favor disposition of a case on its merits over default judgment. See

Am. Contractors Indem. Co. v. Atamian, No. 08-2586-JWL/GLR, 2010 WL 3862034, at *4 (D. Kan.




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Aug. 6, 2010) (citations omitted). Default judgments are harsh sanctions meant to protect the diligent

party from undue delay because of the defendant’s unresponsiveness. See id. (citation omitted). But

the court has broad discretion in deciding whether to enter a default judgment. See Olivas v. Bentwood

Place Apartments, LLC, No. 09-4035-JAR, 2010 WL 2952393, at *4 (D. Kan. July 26, 2010). Even

after default, the court must determine whether the uncontested facts contain a legitimate basis for

entry of a judgment. See id.

               B.     FDCPA

       The FDCPA’s purpose is “to eliminate abusive debt collection practices by debt collectors, to

insure that those debt collectors who refrain from using abusing debt collection practices are not

competitively disadvantaged, and to promote consistent [s]tate action to protect consumers against debt

collection abuses.” 15 U.S.C. § 1692(e).

       In addition to actual damages, the FDCPA allows successful plaintiffs to recover “such

additional damages as the court may allow, but not exceeding $1,000.” 15 U.S.C. § 1692k(a)(2)(A).

The FDCPA also allows a successful plaintiff to recover “the costs of the action, together with a

reasonable attorney’s fee as determined by the court.” Id. § 1692k(a)(3). The court considers several

factors in determining the amount of statutory damages to award to a successful plaintiff under

FDCPA. These factors include “the frequency and persistence of noncompliance by the debtor

collector, the nature of such noncompliance, and the extent to which such noncompliance was

intentional.” Id. § 1692k(b)(1).

       III.    Analysis

       Plaintiff complied with the two-step process required to obtain a default judgment. See Fed. R.

Civ. P. 55(a)–(b). After defendant failed to respond or otherwise appear, plaintiff received an entry of

default against defendant. Plaintiff now asks the court to enter default judgment against defendant.




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        The court has adequate information and documentation to determine without a hearing that

default judgment is warranted in the amount of $9425. Marcus Food Co. v. DiPanfilo, 671 F.3d 1159,

1172 (10th Cir. 2011) (“Rule 55 . . . does not require that the district court receive evidence on the

claimed damages amount before entering a default judgment; rather, the Rule simply allows the district

court to conduct a hearing if it believes that additional investigation or evidence is necessary.”)

(citations omitted). Defendant repeatedly contacted plaintiff’s place of employment after being told

that plaintiff was not allowed to receive calls there. This violated 15 U.S.C. § 1692c(a)(3). And

defendant told third parties that plaintiff had defaulted on debt, violating 15 U.S.C. § 1692c(b).

Defendant also violated 15 U.S.C. § 1692e(5) by threatening to take action that it could not or would

not take, and 15 U.S.C. § 1692e(10) by using false, deceptive, or misleading representations.

        Defendant was both persistent and intentional. Defendant’s actions caused plaintiff anxiety and

stress, and also resulted in a demotion at work. She now makes less money than before defendant

started calling her place of employment. Plaintiff has shown that she is entitled to compensatory and

statutory damages, as well as reasonable attorney’s fees and costs. The attorney’s fees requested by

plaintiff are reasonable, as set forth in her attorney’s affidavit.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion for Default Judgment (Doc. 9) is

granted. The Clerk of the Court shall enter judgment in the amount of $9,425 against defendant, which

includes $3,000 in attorney fees and $425 in court costs.

        The case is closed.

        Dated this 4th day of December, 2014, at Kansas City, Kansas.


                                                        s/ Carlos Murguia
                                                        CARLOS MURGUIA
                                                        United States District Judge




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